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                                                     Western District of Washington


         (Briefly describe the property to be searched
          or identify the person by name and address)                                     MJ20-270




                                                                                                     (identify the person or describe the
property to be searched and give its location):



                                                                                                                             (identify the
person or describe the property to be seized)




                                                                        (check one or more)
                ✔
                ✔
                ✔



            Code Section                                                      Offense Description




          ✔




                                                                 ✔

                                                                                              Applicant’s signature


                                                                                              Printed name and title




                                                                                                Judge’s signature


                                                                                              Printed name and title
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               The Paycheck Protection Program
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                Baoke Zhang and Related Entities
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12.




      PPP Loan Applications Submitted for the Zhang Sole Proprietorship
                           and Cloud Optimization
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    Fraudulent PPP Loan Application Submitted to Ready Capital
                 for the Zhang Sole Proprietorship
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Case 2:20-mj-00270-MAT Document 1 Filed 05/21/20 Page 10 of 36
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 Fraudulent PPP Loan Application Submitted to PayPal and WebBank
                 for the Zhang Sole Proprietorship
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 Fraudulent PPP Loan Application Submitted to PayPal and WebBank
                      for Cloud Optimization
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 34.




Use of Digital Devices to Carry Out the Fraud from the SUBJECT PREMISES
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     Recorded Calls and Records from T-Mobile Phone Number
   Associated with the Businesses Located at SUBJECT PREMISES
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             Surveillance of the SUBJECT PREMISES
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    Probable cause.
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    Forensic evidence.
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Case 2:20-mj-00270-MAT Document 1 Filed 05/21/20 Page 23 of 36
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    Necessity of seizing or copying entire computers or storage media.
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    The time required for an examination




    Technical requirements




    Variety of forms of electronic media
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                           21st
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